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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                   WESTERN DIVISION

 UNITED STATES OF AMERICA,                         )
                                                   )
                                 Plaintiff,        )
                                                   )      No.
                         v.                        )
                                                   )      Judge
 KARYL VALENTA,                                    )
                                                   )
                                 Defendant.        )

                                              COMPLAINT

       The United States of America, by John R. Lausch, Jr., United States Attorney for the

Northern District of Illinois, brings this action under the False Claims Act, as amended, 31 U.S.C.

§ 3729, et seq., and under the common law. The United States brings this action against Karyl

Valenta to recover damages and civil penalties under the False Claims Act, 31 U.S.C. §§ 3729, et

seq., and to recover damages, including punitive damages, and prejudgment interest under

common law theories of fraud, payment under mistake of fact, and unjust enrichment.

                                      Jurisdiction and Venue

       1.        This court has jurisdiction over this matter pursuant to 31 U.S.C. § 3730(a) and 28

U.S.C. § 1345.

       2.        Venue is proper in the Northern District of Illinois pursuant to 31 U.S.C.

§ 3732(a), 28 U.S.C. § 1391(b), and 28 U.S.C. § 1395(a).

                                                Parties

       3.        The plaintiff is the United States of America on behalf of the Social Security

Administration (“SSA”), an agency of the United States government.

       4.        Defendant Karyl Valenta (“Valenta”) is a domiciliary of the State of Illinois.
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                                      Factual Background

       5.      The Social Security Administration administers the Supplemental Security Income

(SSI) Benefits program under Title XVI, of the Social Security Act, 42 U.S.C. § 1381-1383c, 42

U.S.C. § 1384-1385.

       6.      Supplemental Security Income is a federal income supplement program funded by

general tax revenues (not Social Security taxes). It is designed to help aged, blind, and disabled

people, who have little or no income; and it provides cash to meet basic needs for food, clothing,

and shelter.

       7.      Beginning in or about February 2005, and continuing to in or about June 2015, at

Davis Junction, Illinois, in the Northern District of Illinois, Western Division, and elsewhere,

Valenta made false claims, false statements, and knowingly damaged the United States of

approximately $57,750 in funds administered by the Social Security Administration, which she

was not entitled to receive.

       8.      Specifically, beginning in February 2005, and continuing until June 2015, Valenta

received Supplemental Security Income benefits from the Social Security Administration (SSA).

       9.      On October 4, 2004, V married an individual who was receiving Disability

Insurance Benefits. On numerous documents submitted to the SSA after she got married, Valenta

claimed that she was not married in response to questions regarding her marital status.

       10.     Valenta acknowledged that if she had disclosed her marriage to the SSA and the

fact that her husband was receiving of Disability Insurance Benefits, would have made Valenta

ineligible to receive SSA benefits. As a result of these misrepresentations to the SSA, Valenta was

overpaid approximately $57,750 in SSI benefits to which she was not entitled.




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        11.     In seeking and receiving SSI benefits, Valenta concealed material facts, to wit, her

marriage and her husband’s receipt of Disability Insurance Benefits, when she knew or should

have known that it was material to the SSA.

        12.     But for Valenta’s false statements and false claims, she would not have received

SSI benefits from February 2005, through June 2015.

        13.     As a result of Valenta’s actions, the United States has been damaged in the amount

of $57,750.

                                            Count I
                                False Claims Act — False Claims

        14.     The United States repeats and realleges each allegation set forth above in

paragraphs 1 through 13 as if set forth fully herein.

        15.     By virtue of the acts described above, from February 2005, to in or about June 2015

Valenta knowingly presented, or caused others to present, to an officer, employee or agent of the

United States false or fraudulent claims to obtain payment or approval in violation of the False

Claims Act, 31 U.S.C. §§ 3729-3733.

        16.     As used in this count, the term “knowingly” means that a person, with respect to

information, (a) has actual knowledge of the information; (b) acts in deliberate ignorance of the

truth or falsity of the information; or (c) acts in reckless disregard of the truth or falsity of the

information.

        17.     The United States paid the false or fraudulent claims because of the acts of Valenta

and, as a result, the United States has incurred actual damages in the amount of $57,750, exclusive

of interest and costs.




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        18.    Pursuant to the False Claims Act, 31 U.S.C. § 3729(a)(1), as amended, Valenta may

be liable to the United States under the treble damage and civil penalty provision of the False

Claims Act.

                                           Count II
                                       Payment By Mistake

        19.    The United States repeats and realleges each allegation set forth above in

paragraphs 1 through 13 as if set forth fully herein.

        20.    The United States made payments on the claims submitted by Valenta under the

erroneous belief that the claims for payment were based upon representations that were factually

accurate and which represented actual dates of unemployment.

        21.    The United States’ erroneous belief was material to the payments made by the

United States to Valenta.

        22.    Because of these mistakes of fact, Valenta received monies to which she is not

entitled.

        23.    By reason of the overpayments described above, the United States is entitled to

damages in the amount of at least $57,750.

                                           Count III
                                       Unjust Enrichment

        24.    The United States repeats and realleges each allegation set forth above in

paragraphs 1 through 13 as if set forth fully herein.

        25.    Because of Valenta’s conduct, she has been unjustly enriched with federal monies

that in good conscience she should not be allowed to retain.

        26.    Valenta has been unjustly enriched to the detriment of the United States in the

amount of $57,750.




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                                        Claim For Relief

       WHEREFORE, the United States seeks judgment against the Valenta as follows:

       (a)     on Count I (False Claims), judgment against Valenta for treble the United States’

single damages of $57,750, plus civil monetary penalties as set forth in the False Claims Act;

       (b)     on Count II (Payment by Mistake), judgment against Valenta for single damages,

pre-and post-judgment interest, and any such further relief as the court deems appropriate; and

        (c)    on Count III (Unjust Enrichment), judgment against Valenta for single damages,

pre-and post-judgment interest, and any such further relief as the court deems appropriate.

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, Jr.
                                             United States Attorney

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